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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 TEXAS ADVANCED                                §
 OPTOELECTRONIC SOLUTIONS, INC.,               §
                                               §
        Plaintiff,                             §
 v.                                            §
                                                        CIVIL ACTION NO. 4:08-cv-451
                                               §
                                               §
 INTERSIL CORPORATION,                         §
                                               §
        Defendant.                             §


                          ORDER REGARDING
                     AMENDED STIPULATION OF WAIVER OF BOND
       Having considered the Parties’ Amended Stipulation and Proposed Order Regarding

Waiver of Bond, the Amended Stipulation (Dkt. #609) is hereby ENTERED and APPROVED.

The Parties are ordered to comply with the terms set forth in the Amended Stipulation.


              .      SIGNED this the 26th day of January, 2018.




                                                          _______________________________
                                                          RICHARD A. SCHELL
                                                          UNITED STATES DISTRICT JUDGE
